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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 24-cv-00183-CNS-NRN

  BRENDA GONZALEZ,

  Plaintiff,

  v.

  JPMORGAN CHASE BANK, N.A.,

  Defendant.

                                     MINUTE ORDER

  Entered by Magistrate Judge N. Reid Neureiter

         Pursuant to communications with the parties, it is hereby ORDERED that a
  telephonic Discovery Hearing is SET on September 18, 2024 at 11:00 a.m. The parties
  are directed to call the conference line as a participant at (571) 353-2301, Access Code
  841686937# five minutes prior to the start of the hearing.

         It is further ORDERED that the parties shall prepare and email to Chambers by
  noon on September 17, 2024, a short (no longer than ten pages) joint statement setting
  forth each side's respective position concerning the discovery dispute.

  Date: September 16, 2024
